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                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


FORTE BIOSCIENCES, INC.,

            Plaintiff,

            v.
                                      Case No. 3:23-cv-02399
CAMAC FUND, LP, et al.,

            Defendants.


           MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
             MOTION TO DISMISS THE AMENDED COMPLAINT
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                                 PRELIMINARY STATEMENT

       This is a retaliatory lawsuit filed after a contested election for two seats on the Board of

Directors (the “Board”) of Forte Biosciences, Inc (“Forte” or the “Company”)—a company that

pivoted to an unproven, pre-clinical treatment for autoimmune diseases following the complete

failure of its prior treatment for inflammatory skin conditions and a greater-than-90% decline in

its stock price. Defendants are among Forte’s largest shareholders.

       The real dispute is over what to do with the Company’s cash. While Forte has destroyed

virtually all shareholder value in recent years, it still retains a valuable asset: a cash reserve that

exceeds its market capitalization (i.e., shareholders would realize more by liquidating the

Company than operating it). Forte’s managers, wedded to their jobs and salaries, have rejected

calls from shareholders, including the Defendants, to wind down or otherwise return some of the

Company’s excess resources to shareholders. Instead, they have chosen to roll the dice on yet

another new and “promising” treatment and are quickly burning through Forte’s cash developing

it. Unimpressed, Camac (defined below) nominated two new directors for election to the Board at

the 2023 annual shareholder meeting. Camac’s nominees were shoo-ins to win, which Forte

admitted at the time. Rather than allow shareholders to decide the Company’s direction, Forte

rigged the election on the eve of the vote through an enormous private offering, at heavily

discounted prices, to a hand-selected group of investors and members of management. The offering

nearly doubled the Company’s outstanding stock, diluted all unaffiliated shareholders, and turned

the election on its head. The incumbent directors retained their seats, and Camac sued in the

Delaware Court of Chancery for breaches of fiduciary duty (the “Delaware Litigation”). That

litigation is ongoing and Forte’s motion to dismiss soon will be decided.

       On the Saturday after Camac filed its amended complaint in the Delaware Litigation, which

added a claim for wrongful dilution and additional allegations demonstrating management’s
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misconduct, Forte filed this action. The original Complaint (ECF 1) was replete with brackets,

misspellings, and internal notes, suggesting that Forte rushed the filing to emphasize its retaliatory

nature. The Amended Complaint (ECF 21) paints lipstick on the same pig. It tells a facially

implausible (and untrue) story of a so-called “wolf pack” that never existed and a purported

“scheme” to violate federal securities laws to no apparent end. Even accepting these half-baked

allegations as true, the Complaint fails, as a matter of law, for multiple reasons.

       First, Plaintiff has no standing to bring Section 14(a) and 13(d) claims under the Securities

Exchange Act of 1934, 15 U.S.C. § 78a et seq. (the “Exchange Act”). Such claims were intended

to protect shareholders—not issuers like Forte. The claims should be dismissed with prejudice.

See, e.g., Ashford Hospitality Prime, Inc. v. Sessa Capital (Master) LP, No. 3:16-cv-00527, 2017

WL 2955366, at *9 (N.D. Tex. Feb. 17, 2017) (Godbey, J.); Tenet Healthcare Corp. v. Community

Health Sys., Inc., 839 F. Supp. 2d 869, 871-72 (N.D. Tex. 2012).

       Second, even if Forte had standing to assert Section 14(a) and 13(d) claims (it does not),

the claims are now moot. Camac and the other Defendants have subsequently amended their filings

to disclose the allegations in this litigation and the original Complaint itself. Shareholders now

know all there is to know about Forte’s meritless allegations, obviating Plaintiff’s claims and

necessitating dismissal under long-established federal case law. See, e.g., Tax-Free Fixed Income

Fund for Puerto Rico Residents, Inc. v. Ocean Capital LLC, No. 22-1101, 2023 WL 5835786 at

*8 (D.P.R. Aug. 10, 2023); Nano Dimension Ltd. v. Murchison Ltd., No. 1:23-cv-02566, 2023 WL

4422788, at *10-11 (S.D.N.Y. July 10, 2023).

       Third, even if the Court were to consider the Section 14(a) and 13(d) claims on the

purported merits (and it should not), Forte has come nowhere near satisfying the heightened

pleading burden under Fed. R. Civ. P. 9(b) and the Private Securities Litigation Reform Act (the




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“PSLRA”). The six categories of purported § 14(a) violations derive from a combination of rank

speculation, semantics, disagreement with legitimately held business opinions, and literally true

facts from SEC filings and other public records. The § 13(d) claim is likewise deficient because it

is premised entirely on the fact that some Defendants purchased shares around the same time and

held similar (and logical) views about the Board’s years-long mismanagement, and thus must have

been in contact with each other. Case law demonstrates that such conclusory allegations, even at

the pleading stage, are wholly insufficient to state a federal securities claim.

       Fourth, after the deficiencies above were laid bare in Defendants’ first Motion to Dismiss

(ECF 16-1), Plaintiff filed the Amended Complaint alleging two additional federal claims, which

fare no better. Plaintiff lacks standing to assert a Section 16(b) claim because it does not allege a

concrete injury-in-fact beyond a mere alleged statutory violation. Even if Plaintiff could articulate

some concrete injury-in-fact (which it cannot), the claim is threadbare and does not sufficiently

allege the elements. Indeed, the claim hinges entirely on whether Plaintiff has sufficiently alleged

a group under Section 13(d), which they have not. Furthermore, it is important to note that Forte

argued the opposite in the Delaware action (that the Defendants are not a group). Additionally, the

new declaratory judgment count (Count V) is merely duplicative of Counts I-IV and should be

dismissed as well.

       Finally, Forte’s lone state-law claim for tortious interference fails if the federal claims are

dismissed because the supplemental jurisdiction factors do not suggest that this Court should keep

the claim. It also fails on its face. Even after amending its complaint, Forte has not even attempted

to allege the elements of a tortious interference claim, including how, if at all, the Defendants’

conduct purportedly “interfered” with Forte or any of its actual or potential investors.




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       For the reasons set forth herein, the Complaint should be dismissed in its entirety with

prejudice as to all Defendants.

                                  FACTUAL BACKGROUND

       A.      The Parties

       Forte is a biopharmaceutical company that has failed to develop potential treatments over

the years, including most recently its sole lead product, FB-401, which Forte abandoned in

September 2021. Forte Compl. ¶ 66.1

       Defendants Camac Fund, LP (“Camac”),2 ATG Fund II LLC (“ATG”),3 Funicular Funds,

LP (“Funicular”),4 and BML Investment Partners, L.P. (“BML”)5 are among Forte’s largest

stockholders. Id. ¶¶ 18, 26, 31, 45. Defendants Chris McIntyre (“McIntyre”)6 and Michael G.

Hacke (“Hacke”) are investment professionals who were nominated by Camac for election to

Forte’s Board. Id. ¶¶ 27, 107.



1
  Citations to the Amended Complaint (ECF 21) in this action are styled as “Forte Compl. ¶ __.”
All letter “Ex. __” citations are to the exhibits attached to Forte’s Amended Complaint. The facts
set forth below are derived from the Amended Complaint, documents incorporated by reference,
and judicially noticeable facts such as the public filings in the Delaware Litigation. See United
States ex rel. Willard v. Humana Health Plan of Tex., Inc., 336 F.3d 375, 379 (5th Cir. 2003)
(“[C]ourt may consider documents attached to or incorporated in the complaint and matters of
which judicial notice may be taken.”).
2
 Defendants Camac Partners, LLC, Camac Capital, LLC, and Eric Shahinian (the “Camac
Affiliates”) are affiliates of Camac but do not own Forte stock. See Forte Compl. ¶¶ 14-16.
3
  Defendants ATG Capital Management, LLC and Gabriel Gliksberg (the “ATG Affiliates”) are
affiliates of ATG but do not own stock in Forte. See Forte Compl. ¶¶ 29-36.
4
  Defendants The Funicular Fund, LP, Cable Car Capital LLC, and Jacob Ma-Weaver (the
“Funicular Affiliates”) are affiliates of Funicular but do not own stock in Forte. See Forte Compl.
¶¶ 37-41.
5
  Defendants BML Capital Management, LLC and Braden Leonard (the “BML Affiliates”) are
affiliates of BML but do not own stock in Forte. See Forte Compl. ¶¶ 46-49.
6
 McIntyre Partnerships, LP, McIntyre Capital Management LP, McIntyre Capital GP, LLC,
McIntyre Capital Management GP, LLC are affiliates of McIntyre. See Forte Compl. ¶¶ 21-26.


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       B.      Forte’s Management Destroys Virtually All Shareholder
               Value And Then Focuses On Entrenching Themselves

       In September 2021, Forte disclosed that its sole product, FB-401, had failed in clinical

trials. Forte Compl. ¶ 66. Thereafter, its stock price collapsed from a high of $31.47 per share on

September 2, 2021, to a low of $4.91 the following day. Del. Compl. ¶ 3.7 By 2022, its market

capitalization was less than $20 million despite holding over $45 million in cash and no meaningful

debt. Id. ¶ 4. Rather than distributing the remaining cash to its shareholders or otherwise engaging

with shareholders regarding strategy, Forte disclosed in May 2022 a newly contrived plan to

“pivot” toward a speculative product, FB-102. Id. ¶ 5; see also Forte Compl. ¶ 68. After Forte

announced the plan, its market capitalization fell to approximately $16 million, reflecting a 60%

discount to the value of its cash. Del. Compl. ¶ 31. By the end of May 2022, Forte’s stock price

had declined by nearly 40% year-to-date and 93% since entering the public market. Id. ¶ 33.

       Following the stock-price collapse, Forte’s Board began to focus on entrenchment by

diluting vocal shareholders rather than salvaging shareholder value. Id. ¶ 34. On May 24, 2022 and

July 5, 2022, respectively, BML (a 8.94% shareholder) and Funicular (a 7.5% shareholder)

independently disclosed that they had each called on Forte and its Board to return capital to

shareholders. Id. ¶¶ 35-38; Forte Compl. ¶ 82. On July 11, 2022, the Board responded by enacting

a “poison pill” with a 10% threshold. Del. Compl. ¶ 39. A poison pill is a defensive mechanism

providing that if any shareholder acquired more than 10% of its stock, Forte would issue new




7
  Certain contextual facts are drawn from the Verified Amended Class Action and Derivative
Complaint, publicly filed on October 27, 2023 in the related action in Delaware Court of Chancery.
See Camac Fund, LP v. Paul A. Wagner, et al., No. 2023-0817-MTZ; see also Norris v. Hearst
Trust, 500 F.3d 454, 461 n.9 (5th Cir. 2007) (“[I]t is clearly proper . . . to take judicial notice of
matters of public record.”). Citations to the Amended Complaint in the Delaware action are styled
as “Del. Compl. ¶ __.”


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shares to other shareholders at an extremely discounted rate, thereby diluting the shareholder’s

ownership percentage and discouraging its efforts to influence management. Id.

       On July 19, 2022, Funicular disclosed its ownership had increased to 9.9%. Id. ¶ 41; Forte

Compl. ¶ 86. Independently, in early August 2022, Camac disclosed that it held 9.8% of Forte’s

outstanding shares and, separately and independently, ATG disclosed that it held 9.9%. Forte

Compl. ¶ 87; Del. Compl. ¶¶ 42-44. Thus, by at least August 2022, the Board and all Forte

shareholders knew that roughly 40% of outstanding shares were held by sophisticated, independent

investors who had made repeated Schedule 13D disclosures and were openly and publicly

demanding change at Forte and a reconsideration of its capital allocation policies. Forte

Compl. ¶¶ 87-91; Del. Compl. ¶ 45.

       The Board responded with more defensive action. On August 15, 2022, Forte disclosed

that between July and August it had “issued an additional 5.6 million shares of common stock”—

i.e., roughly 38% of then-outstanding shares—“for gross proceeds of approximately $7.0 million”

through an at-the-market offering. Del. Compl. ¶ 47; see Forte Compl. ¶ 88. Prior to the issuance,

there were only 14.8 million shares outstanding, and thus the new shares significantly diluted the

sophisticated investors’ shares. Del. Compl. ¶ 47. The Board disingenuously stated that the

proceeds of the offering would be used to “strength[en] its balance sheet,” even though Forte had

$40 million in cash and stated only three months earlier that it had “sufficient cash for at least the

next 24 months,” including for product development and trials. Id. ¶¶ 47-49; Forte Compl. ¶ 98.

       On August 26, 2022, concerned by Forte’s cash burn and dilutive offering, Camac served

a books and record demand on Forte under Delaware law seeking certain of its records, only some

of which Forte produced and in heavily redacted form. Del. Compl. ¶ 55. In light of Forte’s

deficient production, Camac filed a complaint in Delaware Chancery Court on November 23, 2022




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to enforce its demand. Id. ¶ 62. In the interim, the Board continued to take defensive actions,

including appointing an additional Class II director who was not nominated by shareholders and

implementing generous severance packages for Forte’s officers, triggered by a change in control,

to disincentivize potential acquirors. Id. ¶¶ 58-59.

       C.       To Avoid Losing Two Seats In The 2023 Director
                Election, Forte Floods The Market With New Shares

       In February 2023, in advance of Forte’s annual stockholder meeting (the “Annual

Meeting”), at which two incumbent directors, including Forte’s CEO, would stand for reelection,

the Board announced it would increase its size yet again, unilaterally appointing an individual with

a 20-plus year relationship with Forte’s CEO. Id. ¶¶ 64-65. Shortly thereafter, on February 17,

2023, Camac gave notice of its nomination of Defendants Hacke and McIntyre (the “Camac

Nominees”) to stand for election to the Board at the Annual Meeting. Id. ¶ 67; see also Forte

Compl. ¶ 107.

       On May 15, 2023, Forte announced its Q1 2023 results, reaffirming its belief that it had

sufficient cash available to operate and meet capital expenditures for at least the next 12 months.

Del. Compl. ¶ 75. Camac continued to campaign for its Nominees and set forth in public filings

its arguments with respect to management’s track record of value destruction, disregard for

stockholder interests, and the need for change at Forte. Id. ¶¶ 76-77.8 Although Forte’s prior annual

meeting was held in June, the Board did not schedule the 2023 Annual Meeting for June or July

(in violation of Delaware law, which requires annual shareholder meetings to be held within 13

months of the prior meeting). Id. ¶ 78. Rather, on June 26, 2023, the Board announced a delayed




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  Forte never raised a purported “undisclosed” group or other inaccuracies or deficiencies until this
litigation, despite that no facts have changed since the shareholder vote.


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date for the Annual Meeting of September 19, 2023, and also disclosed that it had renewed and

extended the poison pill. Id. ¶¶ 80-81.

       On August 1, 2023, stockholders learned why the Annual Meeting had been unlawfully

delayed: the Board had used the extra time to orchestrate a mammoth private securities transaction

that would issue 15.2 million new shares—71% of then-outstanding common stock—to a select

group of institutional investors and members of Forte’s management. Id. ¶ 82. The offering made

limited if any business sense because Forte sold the shares at a price reflecting a substantial

discount to Forte’s net cash at the time. Id. ¶¶ 84-91. But the offering worked to flip the anticipated

results of the director election in favor of the incumbent directors by heavily diluting all

unaffiliated stockholders. Id. ¶¶ 93-96.

       D.      Camac Sues For Breaches Of Fiduciary
               Duty In Connection With The Director Election

       On August 10, 2023, Camac filed the Delaware Litigation alleging, among other things,

that the eleventh-hour private offering constituted unlawful entrenchment and a breach of the

Board’s fiduciary duties. Id. ¶ 102; see also Forte Compl. ¶ 120.

       In the interim, Camac continued to campaign, and on August 23, 2023, filed a joint proxy

statement with ATG soliciting votes in favor of the Camac Nominees. Forte Compl. ¶¶ 121-24.

However, the newly issued shares were too much to overcome—of the 36.2 million shares allowed

to vote, 15.2 million (or 42%) had been issued in the private offering. Del. Compl. ¶ 112. On

September 20, 2023, Forte announced that the incumbent directors had been reelected. Id. ¶ 116.

The final results demonstrated that, but for the private offering, the Camac Nominees would have

won by a landslide. Id. ¶ 115.




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       The Delaware Litigation is continuing. The court held oral argument on defendants’ motion

to dismiss on February 14, 2024, and consistent with Delaware Chancery Court guidelines, is

expected to issue its decision within 90 days thereafter (i.e., May 14, 2024).

       E.      Forte Retaliates By Filing This Action

       On October 26, 2023—three days after Camac filed its amended complaint in the Delaware

Litigation—Forte filed this action. See ECF 1. Forte bases its Complaint on purported disclosure

deficiencies, including a purported “Wolfpack conspiracy” (fabricated by Forte with no actual

factual allegations in support and undermined by its counsel’s representations to the Delaware

Chancery Court) and various other immaterial points and statements of opinion made by

Defendants during the contested election. Forte notably never made such allegations in its proxy

materials during the election, and now belatedly complains about trumped-up deficiencies even

though the election is over and (pending a ruling in the Delaware Litigation) the incumbent

directors retained their seats. Rather than support its actual claims, Forte’s Complaint brandishes

the purported credentials of a management team that has indisputably caused tremendous losses to

investors in recent years (Forte Compl. ¶¶ 59-63), tries to explain away the Company’s poor

performance (id. ¶¶ 64-73, 95-106), criticizes its largest shareholders for operating investment

funds that seek to enhance shareholder value (id. ¶ 74), and attempts to defend the propriety of the

incumbent Board. (id. ¶¶ 127-67).

       Indeed, the Company’s own allegations and the attachments to its Complaint demonstrate

that its claims are baseless because Defendants repeatedly and fully disclosed—via hundreds of

pages of Schedule 13D and Schedule 14A filings—their holdings and intent, including their

disagreement with the Company’s current strategy. See id. ¶ 123; Exhibits A-J.




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         F.      Defendants Supplement Their Filings To Disclose This Litigation

         On January 5, 2024, Defendants Camac, ATG, Hacke and McIntyre jointly filed an

amended Schedule 13D to disclose the allegations in this action. Slifer Dec.9 Ex. 1. The filing

attached a copy of the Complaint and stated, in relevant part:

         On October 28, 2023, the Issuer [Forte] filed an action against the Reporting
         Persons and certain other defendants in the U.S. District Court for the Northern
         District of Texas (the “Texas Action”). The Texas Action alleges, among other
         things, that the Reporting Persons and other defendants were allegedly part of an
         undisclosed group formed to advocate for liquidation and/or other change of the
         Issuer. The Texas Action asserts purported (i) violations Section 14(a) of the
         Exchange Act and Rule 14a-9 promulgated thereunder; (ii) violations of Section
         13(d) of the Exchange Act; and (iii) tortious interference. The foregoing description
         of the Texas Action is qualified in its entirety by reference to the Complaint, which
         is attached in its entirety as Exhibit 99.3 hereto and incorporated by reference
         herein.

         ....

         The Reporting Persons believe the allegations set forth in the Texas Action are
         baseless, without merit and subject to immediate dismissal. This filing is being
         made solely to moot the Issuer’s claims in the Texas Action relating to alleged
         disclosures and omissions. None of the foregoing shall be deemed an admission of
         the existence or materiality of any purported misstatement or omission complained
         of in the Texas Action. To the contrary, the Reporting Persons specifically deny all
         allegations in the Texas Action, including, without limitation, that any additional
         disclosures were or are required as to any of the defendants in the Texas Action.
         The Reporting Persons intend to defend themselves vigorously and will pursue all
         available rights and remedies.

         On January 9, 2024 and January 10, 2024, respectively, Defendants Funicular and BML

filed materially similar amendments to their Schedule 13D filings, disclosing this litigation, the

Complaint and Forte’s allegations. Slifer Dec. Exs. 2 & 3.




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    Declaration of LeElle B. Slifer In Support Of Defendants’ Motion To Dismiss (“Slifer Dec.”).


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          G.     Defendants Move To Dismiss And Plaintiff Amends Its Complaint

          On January 16, 2024, Defendants moved to dismiss all counts. On February 6, 2024, in lieu

of opposing Defendants’ motion to dismiss, Plaintiff filed its Amended Complaint, adding a

Section 16(b) claim (Count IV) and declaratory judgment claim (Count V). Defendants now renew

their motion to dismiss all counts with prejudice.

                                           ARGUMENT

I.        PLAINTIFF FAILS TO STATE A CLAIM UNDER SECTION 13 OR 14

          Plaintiff asserts three claims under the proxy provisions of the Exchange Act: one under §

14(a), 15 U.S.C. § 78n(a), and SEC Rule 14a-9 promulgated thereunder, 17 C.F.R. § 240.14a-9

(Count I); and two under § 13(d), 15 U.S.C. § 78m(d) (Counts II and III).

          Section 14(a) prohibits the solicitation of proxies from shareholders of a publicly traded

company without complying with the rules enacted by the SEC. 15 U.S.C. § 78n(a). SEC Rule

14a-9 prohibits the use of proxy statements and other proxy-related communications “containing

any statement which, at the time and in light of the circumstances under which it is made, is false

or misleading with respect to any material fact, or which omits to state any material fact necessary

to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          Section 13(d) requires that any person who acquires more than 5% beneficial ownership of

a public company must make a filing with the SEC, known as Schedule 13D, disclosing certain

information. See 15 U.S.C. § 78m(d). Among other things, the 13D filer must provide information

about their background and identity; the number of shares they have purchased; the source of funds

used for the purchases; and if they seek to gain control of the company, any plans they have to

make “major changes” to its business or structure, such as a merger, liquidation, or sale of assets.

See id.




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       Both §§ 14(a) and 13(d) were added to the Exchange Act as part of the Williams Act, which

was enacted by Congress in 1968. The Williams Act addresses contests for control over public

companies, such as tender offers and proxy fights, and was intended to fill “a gap in the federal

securities laws which permitted cash tender offers and other acquisitions without adequate

disclosure of information to investors.” Motient Corp. v. Dondero, 529 F.3d 532, 535-36 (5th Cir.

2008). The statute was designed to ensure “full and fair disclosure for the benefit of investors while

at the same time providing the offeror and management equal opportunity to present their case.”

Liberty Nat’l Ins. Holding Co. v. Charter Co., 734 F.2d 545, 566 (11th Cir. 1984) (quotations

omitted). Congress was careful “not to tip the scales in favor of management or its opponents.”

Gearhart Industries, Inc. v. Smith Int’l, Inc., 741 F.2d 707, 713 (5th Cir. 1984). Rather, it intended

to remain “evenhanded” in any contest for corporate control. Hallwood Realty Partners, L.P. v.

Gotham Partners, L.P., 286 F.3d 613, 621 (2d Cir. 2002). To that end, Congress expressly

cautioned that it did not intend the statute to become “a weapon for management to discourage

takeover bids or prevent large accumulations of stock which would create the potential for such

attempts.” Rondeau v. Mosinee Paper Corp., 422 U.S. 49, 58 (1975).

       A.      Plaintiff’s Williams Act Claims Do Not Present A Justiciable Case
               Or Controversy As Required For Subject Matter Jurisdiction

       “The justiciability doctrines of standing, mootness, political question, and ripeness all

originate in Article III’s ‘case’ or ‘controversy’ language,” which limits the subject matter

jurisdiction of federal courts to decide only actual “Cases” and “Controversies.” Choice Inc. of

Texas v. Greenstein, 691 F.3d 710, 715 (5th Cir. 2012) (quoting DaimlerChrysler Corp. v. Cuno,

547 U.S. 332, 352 (2006)); see also U.S. Const. art. III, § 2. Here, Plaintiff does not have standing

to assert claims for damages under §§ 14(a) or 13(d), and their claims for declaratory and injunctive

relief are moot in view of post-filing disclosures made by Defendants. Accordingly, the Court



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lacks subject matter jurisdiction over Plaintiff’s federal securities claims, and those claims must

be dismissed pursuant to Fed. R. Civ. P. 12(b)(1).

               1.      Plaintiff Does Not Have Standing Under § 14(a)

       Forte, as a corporate issuer, does not have standing to assert a claim for damages pursuant

to § 14(a). Any such claim may be asserted only by shareholders eligible to vote on the matters in

dispute.

       Although Section 14 does not expressly establish a private right of action to enforce the

statute, the Supreme Court has recognized a limited right of action on the part of shareholders—

but not corporate issuers—for damages where a proxy is misleading. See J.I. Case Co. v. Borak,

377 U.S. 426, 430-31 (1964). The Court grounded this implied right of action on the part of

shareholders in legislative history demonstrating that Congress’s purpose in enacting the statute

was “protection of investors,” ensuring “[f]air corporate suffrage,” and “preventing the recurrence

of abuses which . . . [had] frustrated the free exercise of the voting rights of stockholders.” Id. at

431 (alterations in original).10 Reinforcing its roots in protecting the shareholder franchise, the

Supreme Court later refused to extend the implied right of action to minority shareholders whose

votes were not required for the corporate action being challenged, see Virginia Bankshares, Inc. v.

Sandberg, 501 U.S. 1083, 1106-08 (1991), and the Fifth Circuit held that owners of MLP securities

who did not have voting rights lacked standing to bring an action under the statute. See 7547 Corp.


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   After Borak, the Supreme Court adopted more rigorous standards for finding implied private
rights of action under federal statutes, and although the right for shareholders to enforce § 14(a)
has not been eliminated, it is questionable whether the Court would have recognized it under more
modern standards. See Alexander v. Sandoval, 532 U.S. 275, 287 (2001) (describing Borak’s
approach to implied rights as “the ancien regime,” which had been “abandoned” and not applied
in later cases “even when interpreting the same [statute]”); see also Hallwood, 286 F.3d at 618-19
(observing that “[o]ver the years, the Supreme Court has come to view the implication of private
remedies in regulatory statutes with increasing disfavor,” and tracing development of implied
rights standards from Borak through Sandoval).


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v. Parker & Parsley Dev. Partners, L.P., 38 F.3d 211, 230 (5th Cir. 1994) (“We cannot believe

the Supreme Court, in finding a private right of action under section 14(a) . . . intended to open a

Pandora’s box by extending that right to any person potentially injured by a proxy statement.”)

(citations omitted).

       In view of the statute’s focus on protecting shareholder voting rights and case law, this

Court has previously held that a corporate issuer does not have standing to bring a claim under

§ 14 against a third party for filing an allegedly false and misleading proxy statement in connection

with a fight for control over the issuer. See Ashford Hospitality, 2017 WL 2955366 at *9. This

Court reasoned that “section 14(a) . . . protect[s] only interest-holders with voting rights,” and the

corporate issuer lacks standing because it has “no voting rights in its own stock.” Id. (quotations

omitted); accord Tenet Healthcare, 839 F. Supp. 2d at 871-72 (corporate issuer lacks standing to

bring § 14 claims to recover costs of investigating third-party proxy).

       It is only logical to reject a right of action on the part of corporate issuers given the statute’s

purpose. Holding otherwise would permit issuers—like the Plaintiff here—to weaponize § 14 in

retaliation against shareholders or third parties seeking to replace management or proposing a

different strategic direction for the company (precisely what Forte is attempting to do), contrary to

the express purposes of the Williams Act. As the Second Circuit explained in Liberty National:

               When an outsider is perceived as threatening to displace the insiders,
               management has a clear economic interest in protecting its position,
               even though this might not be in the economic interest of the firm or
               its shareholders. The creation of a private right of action on behalf
               of the firm would allow incumbent management to use corporate
               resources, rather than their own, to harass and burden aggressive
               outsiders.

734 F.2d at 566-67; see also Hallwood, 286 F.3d at 620 (holding that damages remedy for issuers

under Williams Act would frustrate the purpose of the statute by tipping the scale in favor of




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management); Vestcom Int’l v. Chopra, 114 F. Supp. 2d 292, 300 (D.N.J. 2000) (“The Court need

not ignore the possibility that a Williams Act lawsuit might be brought merely for its chilling effect

on challenges to incumbent management.”).

       Here, the § 14 claim is brought by Forte as the corporate issuer, not an unaffiliated

shareholder. While Forte attempts to tie the claim to potential harm to shareholders entitled to

exercise their voting rights, no such shareholder is a plaintiff in this action. See Forte Compl.

¶¶ 179-80 (alleging the “false and misleading statements . . . would have significantly altered the

total mix of information available to a reasonable stockholder in deciding how to vote” and “will

harm Forte stockholders’ ability to make fully informed decisions”). Because Forte is not alleged

to be a shareholder and has no voting rights, it lacks standing to assert a § 14 claim, and the claim

must be dismissed. See Ashford Hospitality, 2017 WL 2955366, at *9.11

               2.      Plaintiff Also Lacks Standing Under § 13(d)

       Like § 14(a), Congress enacted § 13(d) to protect unaffiliated shareholders, not corporate

issuers. See Motient, 529 F.3d at 536. And, as with § 14, this Court (along with the Fifth Circuit

and other Courts of Appeals) has held that a corporate issuer does not have standing to assert a

claim for damages pursuant to § 13(d), although a corporate issuer may obtain injunctive relief

under the statute. See Ashford Hospitality, 2017 WL 2955366, at *8 (“[M]oney damages are

unavailable under § 13(d).” (citing Motient, 529 F.3d. at 536)); accord Hallwood, 286 F.3d at 619-


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   Courts have recognized limited standing for a corporate issuer to bring an action pursuant to
§ 14(a) for declaratory judgment that it may exclude a shareholder’s proposal from the issuer’s
proxy statement. See KBR Inc. v. Chevedden, 776 F. Supp. 2d 415, 426-27 (S.D. Tex. 2011). But
that doctrine has no application here, as Forte does not seek declaratory judgment as to what
information does or does not need to be included in its own proxy statement, and instead, seeks
declaratory judgment that Defendants’ proxy materials were false and misleading to Forte
shareholders. See Ashford Hospitality, 2017 WL 2955366, at *9; Tenet Healthcare, 839 F. Supp.
2d at 872. In any event, the vote has passed and Forte’s claim for declaratory judgment or
injunctive relief is moot, as discussed below.


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21 (right of action for damages “does not serve the aim . . . [and] may actually frustrate

congressional purposes”) (emphasis in original); Liberty Nat’l, 734 F.2d at 560-67 (corrective

filing is only relief available to issuer under § 13(d)).12

        Accordingly, Forte’s claims for damages under § 13(d) brought solely in its capacity as a

corporate issuer must be dismissed for lack of standing.

                3.      Plaintiff’s Claims For Declaratory And Injunctive Relief Are Moot

       Even if Plaintiff had standing to assert its Williams Act claims (it does not) the claims are

moot in any event and should be dismissed. “Mootness has been described as ‘the doctrine of

standing set in a time frame: The requisite personal interest that must exist at the commencement

of the litigation (standing) must continue throughout its existence (mootness).” Motient, 529 F.3d

at 537 (quoting Arizonans for Official English v. Arizona, 520 U.S. 43, 68 (1997)). “[A] case is

moot when the parties lack a legally cognizable interest in the outcome . . . Thus, whether the

vindication of a party’s legal position will lead to effective relief is a key indicator of an ongoing

live, controversy.” Vestcom, 114 F. Supp. 2d at 296 (citations omitted).

       “The sole purpose of the Williams Act is full and fair disclosure to investors.” Gearhart,

741 F.2d at 715 (emphasis in original). Where a defendant makes a supplemental, “curative”

disclosure providing shareholders with the information allegedly omitted from its initial filing, the

purpose of the statute has been fulfilled, and any claim for declaratory and injunctive relief is moot.

See id.; see also Treadway Cos., Inc. v. Care Corp., 638 F.2d 357, 380 (2d Cir. 1980) (denying

injunctive relief following curative disclosure because shareholder-protection “interests are fully



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   Further, it is not clear under case law that the declaratory relief Forte seeks in its prayer for relief
is even available for this claim (Forte Compl. at 45-46), nor is it clear exactly what Forte is even
asking for or to what end, given that the vote has passed. In any event, the claims are now moot as
discussed below.


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satisfied when the shareholders receive the information required to be filed”); Tanzanian Royalty

Exploration Corp. v. Crede CG III, Ltd., No. 18 Civ. 4201, 2019 WL 1368570, at *13 (S.D.N.Y.

Mar. 26, 2019) (“[T]he interests of § 13(d) are fully satisfied when the shareholders receive the

information required to be filed.”) (quotations omitted); cf. Liberty Nat’l, 734 F.2d at 565 (“[T]he

obvious antidote for an allegedly false filing is a corrected filing.”).

        A commonly utilized and accepted form of corrective disclosure is for defendants to attach

a copy of the complaint alleging Williams Act violations to a supplemental SEC filing. More than

40 years ago, the court in Avnet, Inc. v. Scope Industries held that such disclosure was sufficient

to moot a § 13(d) claim, even if defendants state in the supplemental disclosure that they disagree

with and intend to contest the complaint’s allegations. 499 F. Supp. 1121, 1127 (S.D.N.Y. 1980).

Drawing upon analogous disclosure-based statutes, the court reasoned that “[t]he only regulatory

objective is that access to material information be enjoyed equally, but this objective requires

nothing more than the disclosure of basic facts so that [investors] may draw upon their own

evaluative expertise in reaching their own investment decisions.” Id. at 1125. The court held that

a supplemental disclosure attaching a copy of the complaint detailing the information allegedly

omitted, while stating defendants’ disagreement with those allegations, satisfied this purpose

because it informed shareholders of “the disputed facts and the possible outcomes,” and that is

“the limit of the law unless there is reason to be believe the facts are not genuinely in dispute.” Id.

at 1125-26.

        Subsequent courts have “overwhelmingly followed the lead” of Avnet and dismissed

Williams Act claims where defendants made a supplemental disclosure attaching a copy of the

complaint. Ocean Capital, 2023 WL 5835786 at *8 (collecting cases) (magistrate’s report and

recommendation). For example, the court in Nano Dimension recently held that “an amended




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Schedule 13D that annexes the complaint, explains the issuer’s allegations, and refutes those

allegations, is sufficient” to moot a disclosure claim because it “provid[es] members of the public

the opportunity to assess the information themselves,” and “Section 13(d) requires no more.” 2023

WL 4422788 at *10-11; see also, e.g., Ocean Capital, 2023 WL 5835786, at *9; Land & Buildings

Inv. Mgmt., LLC v. Taubman Centers, Inc., No. 17-11576, 2017 WL 3499900, at *3 (E.D. Mich.

Aug. 16, 2017); Lions Gate Entertainment Corp. v. Icahn, No. 10 CV 08169, 2011 WL 1217245,

at *1 (S.D.N.Y. Mar. 30, 2011); Taro Pharm. Indus., Ltd. v. Sun Pharm. Indus., Ltd., No. 09 Civ.

8262, 2010 WL 2835548, at *9-10 (S.D.N.Y. July 13, 2010); Forgent Networks, Inc. v. Sandberg,

No. A-09-CA-499, 2009 WL 2927015, at *2 (W.D. Tex. Aug. 27, 2009); Vestcom, 114 F. Supp.

2d at 300; Weeden v. Continental Health Affiliates, Inc., 713 F. Supp. 396, 399-400 (N.D. Ga.

1989); Cendec Corp. v. Farley, 573 F. Supp. 1382, 1384, 1386 (S.D.N.Y. 1983).

       Here, Defendants made precisely that corrective disclosure. On January 5, 9 and 10,

Defendants each issued amended Schedule 13Ds that annexed complete copies of Plaintiff’s

Complaint. Defendants stated that they deny and dispute Plaintiff’s allegations, but the allegations

themselves are now fully disclosed to Forte shareholders.13 See Slifer Dec. Exs. 1-3. As such, there

is no basis to compel any further disclosure, because all material information, as identified and

articulated by Plaintiff, has been disclosed, nor would any purpose be served by a declaratory



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    To be clear, a defendant need not accept disputed allegations, but need only disclose the
complaint and allegations to investors. See, e.g., Ocean Capital, 2023 WL 5835786 at *9
(“Defendants have provided shareholders of each fund a summary of Plaintiffs’ allegations. And
have informed shareholders that they dispute the existence of a group or of additional Section
13(d) reporting obligations. Admission of liability is not required.”); Nano Dimension, 2023 WL
4422788 at *11 (“[Defendants] have made successive amendments disclosing Plaintiff’s claims
and their good faith dispute of those claims. Section 13(d) requires no more in this case.”); Cartica
Mgmt., LLC v. Corpbanca, S.A., 50 F. Supp. 3d 477, 494 (S.D.N.Y. 2014) (dismissing case in light
of disclosures and holding that “a party is not required to admit allegations in a Schedule 13D that
it disputes in good faith”).


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judgment opining on the accuracy of any prior disclosures, which have been superseded and

mooted. See Vestcom, 114 F. Supp. 2d at 299 (“[W]here the informative purpose of section 13(d)

is served, further controversy over the alleged violations is moot.”). Thus, Plaintiff’s claims under

§§ 13(d) and 14(a) must be dismissed.

       B.      The Complaint Fails To State A Claim Under The Williams Act

       Even if Plaintiff had standing under the Williams Act and its claims were not moot, the

claims still should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6) because Plaintiff does not

allege facts establishing a plausible claim under §§ 13(d) or 14(a).

       To survive a motion to dismiss, a complaint must include “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The

complaint’s factual allegations must be sufficient to “allow[] the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged,” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009), and “raise a right to relief above the speculative level,” Twombly, 550 U.S. at 555. A

complaint must allege “more than a sheer possibility that a defendant has acted unlawfully” and

more than “facts that are ‘merely consistent’ with a defendant’s liability.” Iqbal, 556 U.S. at 678.

       In evaluating the sufficiency of a complaint, a court must accept well-pleaded factual

allegations, but it need not credit “conclusory allegations, unwarranted factual inferences, or legal

conclusions.” Ferrer v. Chevron Corp., 484 F.3d 776, 780 (5th Cir. 2007) (citation omitted). In

addition to the complaint’s allegations, a court may consider “any written instrument attached to

the complaint, statements or documents incorporated into the complaint by reference, legally

required public disclosure documents filed with the SEC, and documents possessed by or known

to the plaintiff and upon which it relied in bringing the suit.” ATSI Commc’ns Inc. v. Shaar Fund,

Ltd., 493 F.3d 87, 98 (2d Cir. 2007); see also Ashford Hospitality, 2017 WL 2955366 at *3.




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       In this case, Plaintiff’s claims also must satisfy the more stringent pleading standards of

Rule 9(b) and the PSLRA, 15 U.S.C. § 78u-4(b). See Ashford Hospitality, 2017 WL 2955366 at

*3; Taro, 2010 WL 2835548 at *6-7. Where a complaint asserts a claim under the Exchange Act

based on allegedly false or misleading statements, the PSLRA requires that “[t]he complaint shall

specify each statement alleged to have been misleading [and] the reason or reasons why the

statement is misleading.” 15 U.S.C. § 78u-4(b)(1). Moreover, if any such allegation is made on

information and belief, “the complaint shall state with particularity all facts upon which that belief

is formed.” Id.

       Rule 9(b) similarly requires that a plaintiff alleging fraud or mistake “must state with

particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). To satisfy Rule

9(b), the complaint must: “(1) specify the statements the plaintiff contends were fraudulent,

(2) identify the speaker, (3) state where and when the statements were made, and (4) explain why

the statements were fraudulent,” Taro, 2010 WL 2835548, at *7 (quoting Lerner v. Fleet Bank,

N.A., 459 F.3d 273, 290 (2d Cir. 2006)).

                  1.   Plaintiff Fails To Allege Facts Establishing
                       Defendants’ Proxy Statement Was Materially
                       False Or Misleading As Required By § 14(a)

       To state a claim under § 14(a) and Rule 14a-9, “a plaintiff must show that ‘(1) defendants

misrepresented or omitted a material fact in a proxy statement . . . ; (2) defendants acted at least

negligently in distributing the proxy statement . . . ; and (3) the false or misleading proxy statement

was an essential link in causing the [loss-generating] corporate actions.’” Hulliung v. Bolen, 548

F. Supp. 2d 336, 339 (N.D. Tex. 2008) (citations omitted). An omitted fact or misrepresentation

in a proxy statement is material only where there is a substantial likelihood that a reasonable

shareholder would consider it important in deciding how to vote. See TSC Indus., Inc. v. Northway,

Inc., 426 U.S. 438, 449 (1976). Plaintiff challenges six categories of purportedly misleading


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statements, but it fails to allege facts supporting a plausible inference that any were false or

misleading, much less materially so.

       Defendants’ Investment Objectives. Defendants satisfied § 14(a) by disclosing the

material facts regarding their objectives for the Company, and they were “not required to disclose

their motivations for waging the proxy contest or to recount the evolution of their strategy.” meVC

Draper Fisher Jurvetson Fund I, Inc. v. Millenium Partners, L.P., 260 F. Supp. 2d 616, 635

(S.D.N.Y. 2003). In any event, Plaintiff has failed to allege any facts suggesting Defendants’

statements did not reflect their “good faith belief[s].” Id. at 635-36.

       Plaintiff’s contention that Defendants made false or misleading statements “regarding their

true plans for Forte” (Forte Compl. ¶ 127) is belied by Defendants’ consistent statements over the

course of a year that they intended to return capital to shareholders. See Ex. H (Aug. 17, 2022 press

release stating “the Board should consider how to return capital to the Company’s long-suffering

shareholders”); Ex. A at 8 (May 25, 2023 preliminary proxy stating “a vote for [Camac’s]

candidates is a vote for abandoning the current plan and returning capital to shareholders”); Ex. C

(Aug. 24, 2023 definitive proxy stating “we have previously advocated for an immediate return of

capital, and that need is now urgent”). Indeed, Plaintiff expressly alleges Defendants disclosed

liquidation as a potential method of returning of capital. Forte Compl. ¶¶ 33, 50, 82, 87 & 89.

       Plaintiff claims that Defendants misleadingly stated that they were “not demanding

liquidation,” while purportedly demanding liquidation. The claim is illogical on its face, and

Plaintiff does not allege facts demonstrating that Defendants were committed only to liquidation

or were not willing to consider other methods of returning capital. Id. ¶¶ 128-29. To the contrary,

although Defendants clearly disclosed the possibility of a liquidation, they also expressed support

for “a tender offer or other extraordinary transaction” to provide a return of capital. Id. ¶ 42. And




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while Plaintiff contends the amount of capital Defendants sought to be returned would necessitate

a liquidation, Defendants’ public statements informed shareholders of the size of the transaction

they sought, enabling shareholders to evaluate the implications, if any, for the Company. Id. ¶¶ 42,

83 (calling for “return [of] $20 million”). See Potomac Capital Mkts. Corp. v. Prudential-Bache

Corp. Div. Fund, Inc., 726 F. Supp. 87, 91-92 (S.D.N.Y. 1989) (dismissing proxy

misrepresentation claim where “there was sufficient notification in light of the alleged

circumstances” that liquidation was a possibility).

       Settlement Discussions Between Forte’s and Camac’s Counsel. Plaintiff alleges the

“[p]roxy falsely recounted such confidential settlement discussions, which occurred shortly after

the Camac Nominees were nominated,” including that “the Company’s counsel relayed that if

Dr. Wagner was not reelected at the Annual Meeting, the Board planned to immediately reappoint

him as a director following the meeting.” Forte Compl. ¶¶ 140-43. However, in the very next

paragraph, Plaintiff admits that Forte’s counsel advised Camac’s counsel that Dr. Wagner would

be reappointed to the Board, even if shareholders voted to remove him. Id. ¶ 144. By “speaking

hypothetically” and “theorizing how it would play out,” id., Forte’s counsel laid out the Company’s

plan, which included reappointing Dr. Wagner against the wishes of shareholders. That fact was

stated accurately in Camac’s proxy statement, Plaintiff does not deny it, and whether counsel now

regrets their statements does not render it misleading in any way.

       Dr. Wagner’s Belief in Forte’s Long-Term Viability. Defendants’ statement that they

“question how much Dr. Wagner believes in the long-term viability of Forte” is a classic statement

of opinion, reflecting Defendants’ views based on their assessment of, among other things,

Dr. Wagner’s sales of company stock “in recent years.” Because Plaintiff does not allege any facts

suggesting Defendants did not honestly hold that opinion, it cannot be the basis for a




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misrepresentation claim. See Omnicare, Inc. v. Laborers Dist. Council Constr. Indus. Pension

Fund, 575 U.S. 175, 186 (2015) (“[A] sincere statement of pure opinion is not an ‘untrue statement

of material fact,’ regardless whether [plaintiff] can ultimately prove the belief wrong.”); Virginia

Bankshares, 501 U.S. at 1095 (“A statement of belief may be open to objection . . . solely as a

misstatement of the psychological fact of the speaker’s belief in what he says.”).

        Moreover, the statement that Dr. Wagner “has been an active seller in recent years” is not

false, as the Complaint admits that he sold more than $4 million of his personal holdings of Forte

stock in September 2021. Forte Compl. ¶ 146. That Dr. Wagner also made some, significantly

smaller, purchases of Forte stock since September 2021 does not negate the fact that he actively

sold shares in that time period. Id. ¶ 149 (alleging Dr. Wagner and other executives and directors

collectively purchased $1.16 million in stock through a private placement in 2023). In any event,

any purchases made by Dr. Wagner (as well as changes in his compensation, id. ¶ 150) are publicly

reported and part of the total mix of information available to shareholders, were disclosed prior to

Defendants’ statements, and Defendants were not required to separately re-disclose them in their

proxy statement. See In re Apple Computer Secs. Litig., 886 F.2d 1109, 1115 (9th Cir. 1989) (no

duty to disclose information “that has been made credibly available to the market by other

sources”). As above, Plaintiff’s mere disagreement with Defendants’ assessment does not render

the opinion a securities violation.

        Decline of Forte’s Stock Price Since Its IPO. Defendants’ proxy materials highlighted

the 99% decline in Forte’s stock price since its IPO and the more than $102 million in accumulated

losses since its inception. Plaintiff does not dispute the accuracy of these figures. Instead, Plaintiff

argues those figures are not relevant to the performance of the current members Board because

they include losses incurred before certain individuals joined the Board. However, Defendants’




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proxy statement clearly identified the time period covered by the cited data and asserted only that

the losses were incurred “[u]nder Chair and CEO Dr. Wagner,” who unquestionably has been an

officer and Board member since the Company’s inception, was up for re-election at the 2023

annual meeting. Forte Compl. ¶¶ 59-60. Thus, Defendants’ statements were neither false nor

misleading, and the Company’s financial performance and Board tenure are matters of public

record. To the extent Forte’s management believes the consistent accumulated losses are somehow

not relevant to their performance, they were free to make their case to shareholders, but they cannot

use the Williams Act to silence dissenting viewpoints.14 See Liberty Nat’l, 734 F.2d at 566 (statute

intended to “provid[e] the offeror and management equal opportunity to present their case”)

(quotations omitted).

       Meetings with Investors. Plaintiff alleges that Defendants “mischaracterize[d] Forte’s

willingness to meet with investors” because Forte “has met with investors . . . including Cable

Car.” Forte Compl. ¶ 159. Contrary to Plaintiff’s suggestion, however, Defendants are not alleged

to have stated that Forte never met with any investors. Quite the opposite, Defendants’ proxy

specifically discussed meetings between Camac’s counsel and Forte’s counsel. Id. ¶ 160; see also

Ex. C at 7.

       While Defendants informed shareholders that Forte’s Board “[f]ail[ed] to constructively

engage” in those meetings, that is, again, a statement of opinion and is not actionable. See Virginia

Bankshares, 501 U.S. at 1095. And while Defendants stated that they had been told by “numerous

significant stockholders” that “management ha[d] been unwilling to speak with them,” Forte

Compl. ¶ 157, Plaintiff does not allege that Defendants were not so informed. Plaintiff’s argument


14
   It bears noting, however, that significant stock price declines have occurred since June 2020,
with Forte’s share price dropping from more than $50 to less than $1 during the current Board’s
tenure. See Ex. D at 11.


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that it met with at least one shareholder during the prior year does not, as a matter of common

sense, establish that Defendants’ statements were false or misleading. Camac, by way of example,

has repeatedly offered to speak about Forte’s strategy, but management has been unwilling.

       Resignation of the Company’s Auditor. Plaintiff’s own allegations demonstrate that the

Company’s auditor, Mayer Hoffman McCann P.C. (“MHM”), concurred with the determination

that the Company had ineffective tax accounting controls. MHM was required to, and did, approve

the initial disclosure of that deficiency in the Company’s Form 10-K for the fiscal year ended

December 31, 2022, which was filed on March 31, 2023. Id. ¶ 165. Moreover, the Form 8-K

announcing MHM’s resignation less than six months later, which was reviewed and approved by

MHM, disclosed that there were “no . . . reportable events . . . other than in connection with [the

disclosed deficiency],” suggesting MHM viewed the ineffective tax accounting controls as a

material matter that was required to be reported to shareholders. Id. ¶¶ 165-66 (emphasis added).

Thus, Defendants’ statements that MHM had resigned and that the Company had ineffective

controls were true by Plaintiff’s own admission.

       Whether MHM independently identified the deficiency or agreed with management’s

conclusions does not materially impact the total mix of information available to shareholders.

Indeed, both the 10-K announcing the deficiency and the 8-K announcing MHM’s resignation

were publicly disclosed prior to the September 2023 meeting, so shareholders had access to what

Plaintiff contends were the true facts regarding the control deficiency and the reasons for MHM’s

resignation before they voted.

               2.     Plaintiff Fails To Allege Facts Establishing Defendants
                      Entered An Agreement To Act As A Group As Required By § 13(d)

       The “key inquiry” under § 13(d) is “whether [Defendants] agreed to act together for the

purpose of acquiring, holding, voting or disposing of [the issuer’s] common stock.” Morales v.



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Quintel Entm’t, Inc., 249 F.3d 115, 122-23 (2d Cir. 2001) (quoting SEC Rule 13d-5(b)(1), 17

C.F.R. § 240.13d-5(b)(1)). Although whether the requisite agreement exists is a question of fact,

to survive a motion to dismiss, “[a] plaintiff alleging a ‘group’ must plead enough factual matter

(taken as true) to suggest an agreement was made.” Nano Dimension, 2023 WL 4422788 at *8

(quotations omitted); Ocean Capital, 2023 WL 5835786, at *4. “General allegations of parallel

investments by institutional investors do not suffice to plead a group.” Litzler v. CC Invs., L.D.C.,

411 F. Supp. 2d 411, 415 (S.D.N.Y. 2006) (citing Log On Am., Inc. v. Promethean Asset Mgmt.

L.L.C., 223 F. Supp. 2d 435, 449 (S.D.N.Y. 2001)).

       Here, Plaintiff concedes that Camac, the Camac Nominees, McIntyre, and ATG properly

filed Schedule 13Ds disclosing that they were acting as a group prior to the Annual Meeting, see

Forte Compl. ¶¶ 108, 113, 122, but Forte does not—and cannot—allege any facts establishing a

plausible inference that any of those Defendants had an agreement with Funicular or BML with

respect to Forte or its stock because no such agreement ever existed.

       Rather, Plaintiff alleges (at the very most) that Funicular and BML purchased Forte shares

in the same general timeframe as the other Defendants and that they shared, to some extent, similar

views regarding management’s misguided business strategies, efforts to entrench itself and failure

to maximize value for shareholders.15 See, e.g., id. ¶¶ 83-84, 86, 89, 91. Plaintiff also alleges that

Funicular and BML publicly supported proposals made by the other Defendants and vice versa,

see id. ¶¶ 91, 138, but they do not allege a single fact suggesting that such support arose from an

undisclosed agreement amongst Defendants, rather than from Defendants’ common, but

independently established, views regarding the Company and its management. See Nano



15
  None of this is surprising given that every investor in the Company, whether or not acquainted,
share an interest in maximizing shareholder value and avoiding poor performance.


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Dimension, 2023 WL 4422788 at *8 (“parallel investment decisions” insufficient absent allegation

defendants “expressly agreed to act together”) (quotations omitted); Ocean Capital, 2023 WL

5835786 at *7 (dismissing claim where plaintiff failed to provide “any concrete factual material

to establish a connection between [members of the alleged group]”). Indeed, Forte’s own counsel

admitted in the Delaware Litigation that commonly held views are insufficient to support an

inference that Defendants were acting as a group. See Slifer Dec. Ex. 4 at 57-58 (“[T]hey [Camac]

want to talk about the other stockholders like Funicular to suggest that there was some threat [to

incumbent management] or that others had expressed disagreement with the board, but I don’t

think you can connect that to Camac’s proxy contest. At the time, there was nothing to suggest

any of those stockholders were working together.”).16 The Defendants had independently

established views that the status quo for the Plaintiff was untenable, and change was needed. This

view was obviously held by the majority of shareholders at the time, evidenced by the fact that the

shares traded for well below their liquidation value for most of the period.

       Moreover, Plaintiff’s allegations are based entirely on Defendants’ public statements and

acts prior to the September 2023 Annual Meeting. Thus, Forte shareholders were well aware that

Defendants shared similar views, even though Funicular and BML were not identified as part of a

§ 13(d) “group” with the other Defendants (because they were not). Defendants were not required

to pejoratively characterize themselves as a “wolfpack” engaging in “a wolfpack strategy”—terms

Plaintiff invented for this litigation—and any such disclosure would not be material to a reasonable

shareholder in view of the information already disclosed. See Tuchman v. DSC Commc’ns Corp.,

14 F.3d 1061, 1069 (5th Cir. 1994) (defendants have no duty to “employ the adjectorial


16
  In the Delaware Litigation, Forte is arguing that the Defendants were not a group and posed no
threat to Forte’s Board and management to avoid liability under Delaware law for their acts of
shareholder disenfranchisement and wrongful dilution.


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characterization” preferred by plaintiff); Kowal v. MCI Communications Corp., 16 F.3d 1271,

1277 (D.C. Cir. 1994) (“Since the use of a particular pejorative adjective will not alter the total

mix of information available to the investing public . . . such statements are immaterial as a matter

of law and cannot serve as the basis for [a federal securities claim].”).

       Nor does Plaintiff’s allegation that Funicular previously supported a proxy contest by

Camac involving a different company (and apparently fully disclosed) establish an inference that

Funicular and Camac have an undisclosed agreement with respect to Forte.17 See Forward Indus.

Inc. v. Wise, No. 14-CV-5365, 2014 WL 6901137, at *3 (S.D.N.Y. Sept. 23, 2014) (“[P]roof that

defendants had jointly invested together in other transactions would not establish that they

currently have an agreement with respect to [the issuer’s] stock.” (quotation marks omitted)).18

II.    PLAINTIFF FAILS TO STATE A CLAIM UNDER SECTION 16

       Faced with the fact that it cannot weaponize the Williams Act to impose “damages” on

Defendants, Plaintiff’s Amended Complaint asserts a new claim under § 16(b) of the 1934 Act, 15

U.S.C. § 78p(b) (Count IV), seeking to require Defendants to disgorge supposed “short-swing

profits” from their trading of Forte shares.

       Section 16(b) applies to statutory “insiders,” which include a company’s directors and

officers, as well as beneficial owners of more than 10% of a company’s stock. 15 U.S.C.

§ 78p(a)(1). The statute aims to “prevent[] the unfair use of information which may have been


17
   Plaintiff touts Defendants’ “[h]istory” of using a “wolf pack strategy” to “[r]ansack[]”
companies, but Plaintiff alleges only a single example where Camac and Funicular (but not any of
the other Defendants) were involved in a proxy contest with respect to an underperforming
biotechnology company. Forte Compl. ¶¶ 74-78.
18
   Plaintiff’s conclusory allegations here stand in marked contrast to the factual allegations relied
upon by this Court in Ashford Hospitality to sustain a § 13(d) claim. See 2017 WL 2955366, at *8
(relying on allegations that leader of alleged group (a) had nominated one of the other members to
be elected to the issuer’s board and (b) had privately discussed the issuer with its limited partners
(i.e., investors in its funds) before they purchased shares).


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obtained by such [statutory insider] by reason of his relationship to the issuer,” 15 U.S.C. § 78p(b),

by requiring insiders to disgorge profits realized from purchases and sales of a company’s stock

within a 6-month period. See Gollust v. Mendell, 501 U.S. 115, 117 (1991). Like other Exchange

Act claims that may be applied more broadly than Congress intended, this Court should be

“reluctant to exceed a literal, mechanical application of the statutory text in determining who may

be subject to liability, even though in some cases a broader view of statutory liability could work

to eliminate an evil that Congress sought to correct through § 16(b).” Greenberg v. Hudson Bay

Master Fund Ltd., No. 14cv5226, 2015 WL 2212215, at *4 (S.D.N.Y. 2015) (citing Gollust, 501

U.S. at 122).

       As with its Williams Act claims, Plaintiff’s § 16(b) claim fails because Plaintiff does not

have Article III standing and, in any event, has not alleged facts plausibly supporting the claim.

       A.        Plaintiff Fails To Allege Injury-In-Fact

       In TransUnion LLC v. Ramirez, the Supreme Court held that, for a plaintiff to have Article

III standing to pursue a claim based on a defendant’s alleged violation of a statute (there, the Fair

Credit Reporting Act), the plaintiff must allege not only that the defendant violated the statute, but

also that the plaintiff suffered an actual, concrete injury arising from the violation. 594 U.S. 413,

434-35 (2021). Strict liability or not, a mere statutory violation without a showing of harm to the

plaintiff is insufficient to confer Article III standing. See id.; see also Maddox v. Bank of New York

Mellon Tr. Co., N.A., 19 F.4th 58, 62 (2d Cir. 2021) (“In sum, TransUnion established that in suits

for damages plaintiffs cannot establish Article III standing by relying entirely on a statutory

violation or risk of future harm: ‘No concrete harm; no standing.’” (quoting TransUnion, 141 S.

Ct. at 2214)).

       Following TransUnion, a plaintiff has Article III standing to seek disgorgement pursuant

to § 16(b) only if the issuer (here, Forte) suffered a concrete injury from the underlying trading


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activity. See, e.g., Packer on behalf of 1-800-Flowers.com, Inc. v. Raging Capital Master Fund,

Ltd., 661 F. Supp. 3d 3 (E.D.N.Y. 2023) (granting motion to dismiss Section 16(b) claim in light

of TransUnion because plaintiff failed to allege or articulate any actual reputational or other harm

flowing from the alleged statutory violation). Even assuming Plaintiff could allege that any

Defendant’s purchase-and-sale activity violated § 16(b) (and it cannot), Plaintiff has not attempted

to allege any concrete harm flowing from the purported violation. See Forte Compl. ¶¶ 208-13

(including no allegations of harm to Forte). Accordingly, Plaintiff’s § 16(b) claim should be

dismissed for lack of Article III standing. See Packer, 661 F. Supp. 3d at 9-18.19

       B.      Plaintiff Fails To Allege Any Defendant
               Engaged In Trades Subject To Section 16(b)

       Even if Plaintiff had Article III standing notwithstanding that it has not suffered any

concrete harm, Plaintiff has not alleged facts establishing a § 16(b) claim. To state a claim under

Section 16(b), “a plaintiff must plausibly allege that ‘there was (1) a purchase and (2) a sale of

securities (3) by an officer or director of the issuer or by a shareholder who owns more than ten

percent of any one class of the issuer's securities (4) within a six-month period.’” Olagues v.

Perceptive Advisors LLC, 902 F.3d 121, 125 (2d Cir. 2018) (citing Gwozdzinsky v. Zell/Chilmark

Fund, L.P., 156 F.3d 305, 308 (2d Cir. 1998)). The defendant must be “a statutory insider at both

the time of the purchase and the time of sale.” Greenberg, 2015 WL 2212215 at *4 (citing

Foremost-McKesson, Inc. v. Provident Sec. Co., 423 U.S. 232, 235 (1976)). Where insider status



19
   While some courts have upheld § 16(b) claims in the absence of allegations of concrete harm,
they have done so based on non-binding and illogical “breach of trust” concepts the predated
Transunion and have no application where the defendants are not alleged to have been in
possession of material, non-public information about the issuer. See, e.g., Avalon Holdings Corp.
v. Gentile, No. 18-cv-7291, 2023 WL 4744072 (S.D.N.Y. July 25, 2023); see also Forte Compl. ¶
212 (contending § 16(b) “is a strict liability offense that does not require proof of actual abuse of
insider information or intent to profit”).


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is based on beneficial ownership, “[t]he shareholder must be a 10 [percent] beneficial owner before

the short-swing transaction.” Litzler v. CC Investments, L.D.C., 411 F. Supp. 2d 411, 414

(S.D.N.Y. 2006).

       Here, Plaintiff does not allege that any Defendant ever was a 10% holder of any class of

Forte securities much less that any Defendant engaged in any short-swing transactions subject to

§ 16(b) when they were 10% holders. Indeed, Plaintiff identifies only a single sequence of sale-

and-purchase transactions, by one of Defendant (Camac), that purportedly occurred within a §

16(b) 6-month short-swing profit window, but Plaintiff does not allege the percentage of Camac’s

ownership of Forte securities at the time of those transactions as required to establish that Camac

was a statutory insider subject to potential disgorgement under § 16(b). See Forte Compl. ¶ 211.

       Unable to allege that Camac was a 10% holder at the time of the transactions, Plaintiff

clings to the theory that Defendants acted as a group and their holdings should be aggregated to

meet the statutory threshold under § 13(d). See id. ¶ 210. But Plaintiff fails entirely to allege a

group between the Defendants for all of the reasons discussed above. See supra § I.B.2; see also

Rubenstein v. Int’l Value Advisers, LLC, 363 F. Supp. 3d 379, 394-95 (S.D.N.Y. 2019) (dismissing

§ 16(b) claim based on aggregated ownership where plaintiff failed to allege existence of § 13(d)

group), aff’d 959 F.3d 541 (2d Cir. 2020).

III.   PLAINTIFF’S DECLARATORY JUDGMENT CLAIM SHOULD BE DISMISSED

       Plaintiff’s new declaratory judgment claim (Count V) adds nothing to this action and

merely seeks a ruling that “Defendants formed a group under the securities laws and failed to

disclose the group as required under the securities laws.” Forte Compl. ¶ 215. This is entirely

duplicative of Plaintiff’s § 13 claims (Counts I-IV) and should be dismissed for this reason alone.

See Regus Mgmt. Grp., LLC, v. Int’l Bus. Mach. Corp., No. CIV.A.3:07-CV-1799-B, 2008 WL




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2434245, at *2 (N.D. Tex. June 17, 2008) (dismissing duplicative claim and stating that “[i]f a

request for a declaratory judgment adds nothing to an existing lawsuit, it need not be permitted”);

Madry v. Fina Oil & Chem. Co., 44 F.3d 1004 (5th Cir. 1994) (holding declaratory judgment was

improper when only concerned rights at issue in the existing contract dispute); Xtria LLC v.

Tracking Sys., Inc., No. 3:07-CV-0160-D, 2007 WL 1791252, at *3 (N.D. Tex. June 21, 2007)

(dismissing declaratory judgment action under Rule 12(b)(6) when Plaintiff’s “declaratory

judgment action essentially duplicates its breach of contract claim”); Flanagan v. Chesapeake

Expl., LLC, No. 3:15-CV-0222-B, 2015 WL 13814515, at *9 (N.D. Tex. Aug. 10, 2015)

(dismissing declaratory judgment claim because it was duplicative and thus “entirely repetitive

and unnecessary” for the court to consider). Because Plaintiff’s declaratory judgment claim

concerns the same rights at issue in its existing causes of action, the Court should dismiss it.

       Moreover, just like Plaintiff’s Williams Act claims, the declaratory judgment claim is also

moot in view of Defendants’ supplemental disclosures, and no purpose would be served by a

declaratory judgment regarding Defendants’ prior, now-superseded disclosures. See supra § I.3.

IV.    PLAINTIFF’S TORTIOUS INTERFERENCE CLAIM SHOULD BE DISMISSED
       FOR LACK OF JURISDICTION AND FAILURE TO STATE A CLAIM

       A.      The Court Should Decline To Exercise Supplemental Jurisdiction

       The Court should dismiss Plaintiff’s federal claims for the reasons stated above, and it

should decline to exercise supplemental jurisdiction over the state law claim for tortious

interference.20 A district court “may decline to exercise supplemental jurisdiction” where it “has


20
   Plaintiff cannot bootstrap its declaratory judgment claim as a jurisdictional anchor for its state
law claim. See Schilling v. Rogers, 363 U.S. 666, 677 (1960) (“The Declaratory Judgment Act is
not an independent source of federal jurisdiction.”); see also Fleming v. Leavitt, No. 07-10107,
2008 WL 174204, at *4 (5th Cir. Jan. 18, 2008) (same). Even if the Court declines to dismiss the
declaratory judgment claim, it should dismiss the entire Amended Complaint for lack of
jurisdiction unless at least one of Plaintiff’s Exchange Act claims (Counts I-IV) survives dismissal.


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dismissed all claims over which it has original jurisdiction,” 28 U.S.C. § 1367(c)(3), or “in

exceptional circumstances,” 28 U.S.C. § 1367(c)(4). As a general rule, “a court should decline to

exercise jurisdiction over remaining state-law claims when all federal-law claims are eliminated

before trial.” Brookshire Bros. Holding, Inc. v. Dayco Prods., Inc., 554 F.3d 595, 601-02 (5th Cir.

2009). Other relevant factors include “judicial economy, convenience, fairness, and comity.” Id.

at 602.

          Here, the balance of factors weighs in favor of declining supplemental jurisdiction.

Although the parties have submitted filings in connection with the instant motion to dismiss, the

case is at a nascent stage. No discovery has occurred, and the initial pretrial conference has not

taken place. More importantly, the parties are litigating similar issues in other proceedings that

predate this case. The Court has no compelling reason to retain jurisdiction only to consider the

tortious interference claim, which is an afterthought in Plaintiff’s Complaint.

          B.     The Complaint Fails To State A Claim For Tortious Interference

          Even if the Court exercises supplemental jurisdiction, the tortious interference claim fails

under Fed. R. Civ. P. 12(b)(6) because Forte does not allege all (or any) of the elements necessary

for a claim, much less actual facts supporting them. “To prevail on a claim for tortious interference

with prospective business relations, the plaintiff must establish that (1) there was a reasonable

probability that the plaintiff would have entered into a business relationship with a third party;

(2) the defendant either acted with a conscious desire to prevent the relationship from occurring or

knew the interference was certain or substantially certain to occur as a result of the conduct; (3) the

defendant’s conduct was independently tortious or unlawful; (4) the interference proximately

caused the plaintiff injury; and (5) the plaintiff suffered actual damage or loss as a result.”

Coinmach Corp. v. Aspenwood Apartment Corp., 417 S.W.3d 909, 923 (Tex. 2013). Moreover,

Fed. R. Civ. P. 9(b)’s heightened pleading standard applies since Forte’s claim is premised on


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Defendants’ alleged fraudulent statements. Leonardo Worldwide Corp. v. Pegasus Solutions, Inc.,

No. 5:15-mc-80165, 2015 WL 13469916, at *5 (N.D. Tex. Sept. 24, 2015) (Godbey, J.) (applying

Rule 9(b) and dismissing tortious interference with prospective contracts claim where fraud was

the alleged independent tortious conduct).

       Forte has failed to allege even generalized allegations about the “necessary who, what,

when, where, and how” of its claim. Leonardo Worldwide Corp., 2015 WL 13469916 at *5. As to

a reasonably probable “business relationship,” the Complaint alleges vaguely that Forte is a public

company that “routinely” seeks additional investors. Forte Compl. ¶ 222. But it fails to identify

any investor who was affected by Defendants’ allegedly tortious conduct, when, where or how the

conduct purportedly affected a hypothetical investor, or anything else about how the conduct

purportedly affected the Company. See, e.g., Forum Energy Techs., Inc. v. Jason Oil & Gas Equip.,

LLC, No. CV H-20-3768, 2022 WL 1103078, at *3 (S.D. Tex. Apr. 13, 2022) (dismissing a

tortious interference with prospective business relations claim where the complaint “does not

identify any of th[e] third parties” allegedly affected by the defendant’s actions). If Forte cannot

identify a single hypothetically deterred business relationship, it certainly cannot show such a

relationship was reasonably probable or that the Company incurred actual damage or loss. See id.

       Forte also has failed to allege independently tortious or unlawful conduct or that

Defendants acted consciously or knowingly that such conduct would result in preventing any

relationship from occurring. As a threshold matter, since the Exchange Act claims should be

dismissed, there is no independently tortious or unlawful conduct alleged. Moreover, the Amended

Complaint, in its totality, amounts to a judicially filed disagreement with the viewpoints of certain

activist minority shareholders. Defendants’ merited advocacy to return capital to shareholders—

the only “interference” alleged—does not give rise to a cognizable claim. See Bradford v. Vento,




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48 S.W.3d 749, 758 (Tex. 2001) (interference that is “an incidental result of [defendant’s]

legitimate conduct” is insufficient). The tortious interference claims should be dismissed.

                                         CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court dismiss the

Amended Complaint (ECF 21) in its entirety with prejudice as to all Defendants.



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